           Case 7:21-cr-00309-NSR Document 29 Filed 11/15/21 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :                       11/15/2021
UNITED STATES OF AMERICA                                               :
                                                                       :
                  -v-                                                  :            19-CR-309 (NSR)
                                                                       :
NICHOLAS SKULSTAD,                                                     :                 ORDER
                                                                       :
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- X

Nelson S. Román, United States District Judge:

        On November 12, 2021, U.S. Magistrate Judge Judith C. McCarthy held a second bail

hearing in the above-captioned cause. After the hearing, Judge McCarthy granted Defendant

Nicholas Skulstad bail and ordered his release from custody on Monday, November 15, 2021, to

an intensive in-patient psychiatric program called Continuum Recovery Services, located in New

Haven, Connecticut. (See ECF No. 26.)

        On November 14, 2021, the Court received the Government’s request via email seeking to

stay Defendant’s release pending de novo review of Judge McCarthy’s release order. (ECF No.

28.) After reviewing the Government’s request, its accompanying exhibits and transcript excerpts,

as well Defendant’s letter in opposition (ECF No. 27), the Court DENIES the Government’s

application to stay Defendant’s release. The parties are further DIRECTED to prepare for

argument on de novo review of the release order during the teleconference currently set

on     Thursday,       November         18,     2021,      at    3:00      p.m.   (See   ECF    No.   22.)

Moreover, Defendant’s attendance to this Thursday’s teleconference is required.

Dated: November 15, 2021
       White Plains, NY
